Case 5:13-cr-04035-LTS-KEM   Document 87   Filed 11/20/13   Page 1 of 6
Case 5:13-cr-04035-LTS-KEM   Document 87   Filed 11/20/13   Page 2 of 6
Case 5:13-cr-04035-LTS-KEM   Document 87   Filed 11/20/13   Page 3 of 6
Case 5:13-cr-04035-LTS-KEM   Document 87   Filed 11/20/13   Page 4 of 6
Case 5:13-cr-04035-LTS-KEM   Document 87   Filed 11/20/13   Page 5 of 6
Case 5:13-cr-04035-LTS-KEM   Document 87   Filed 11/20/13   Page 6 of 6
